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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                            Case No.: 0:19-cv-61375-RAR

  VILMA REYES,

         Plaintiff,

  v.

  RADIUS GLOBAL SOLUTIONS LLC,

        Defendant.
  _______________________________________/

                                   RESPONSE TO
                  DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiff VILMA REYES (“Plaintiff”) submits this Response to Defendant RADIUS

  GLOBAL SOLUTIONS LLC’s (“Defendant”) Notice of Supplemental Authority [D.E. 23].

         1.         Pursuant to Defendant’s Notice of Supplemental Authority:

                    On September 24, 2019, in Will v. Portfolio recovery Associates,
                    LLC, No. 1:18-cv-02790-MSK-KMT, Doc. 41 (D. Co.), the
                    Honorable Marcia S. Krieger granted a motion to dismiss [a]
                    plaintiff’s claim under the [FDCPA] where the collection at issued
                    stated that due to the age of the debt, defendant, “will not sue” [the]
                    plaintiff and [said collection letter] did not contain any disclosures
                    that choosing one of the repayment options [offered therein] would
                    restart the statute of limitations.

  D.E. 23 at 1, ¶ 1. The supplemental authority offered by Defendant, however, does not support

  Defendant’s reading of the facts presently before this Court. First, at the outside, the plaintiff in

  Will did not file any response to the motion underlying the issued opinion. As the court noted, “In

  lieu of a Response, on March 7, 2019, [the plaintiff] filed a Motion for Leave [to file an amended

  complaint],” of which the Will court denied.” As such, the entirety of the opinion which Defendant

  now offers was the product of an unopposed and otherwise one-sided argument.

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         2.         With respect to the substance of the opinion, the Will court rested its decision on

  the fact that the plaintiff did not offer any contrary authority to the defendant’s argument, stating

  in relevant part, “Mr. Will offers no controlling authority (and case law from other jurisdictions

  seems to suggest otherwise) in support of his contention that the Collection Letter’s phrase, “we

  will not sue you,” is false, inaccurate or misleading.” Will v. Portfolio recovery Associates, LLC,

  No. 1:18-cv-02790-MSK-KMT, Doc. 41 at 7. Here, unlike the plaintiff in Will, Plaintiff has

  offered a wide breadth of authority. See, e.g., D.E. 20 at ¶ 13-27.

         3.         Moreover, and critically, the Will court did not consider the entirety of the

  underlying collection letter, and instead chose to render an opinion without consideration to the

  collection letter as a whole, and in so doing, citied Valle v. First Nat'l Collection Bureau, Inc., 252

  F. Supp. 3d 1332 (S.D. Fla. 2017).1



  1
   Just as with Defendant’s misuse of Valle in its Motion to Dismiss, the court in Will appears to
  have overlooked critical distinctions between the collection letter before it and that which was
  considered in Valle. As stated in Plaintiff’s Response in Opposition to Defendant’s Motion to
  Dismiss:

                    [In Defendant’s Motion to Dismiss], Defendant deceptively couches
                    Valle v. First Nat'l Collection Bureau, Inc., 252 F. Supp. 3d 1332
                    (S.D. Fla. 2017) as having granted a “motion for judgment on the
                    pleadings where plaintiff alleged defendant violated the FDCPA by
                    sending a letter to collect a time-barred debt which misleadingly
                    stated the creditor ‘will not’ sue for the debt.” D.E. 17 at 6. Not
                    surprisingly, Defendant conveniently fails to mention that the
                    collection letter involved in Valle also contained the following
                    disclosure which Judge Scola exclusively relied on in issuing his
                    opinion: “In many circumstances, you can renew the debt and
                    start the time period for the filing of a lawsuit against you if you
                    take specific actions such as making certain payment on the debt
                    or making a written promise to pay. You should determine the
                    effect of any actions you take with respect to this debt.” Valle,
                    252 F. Supp. 3d 1332 at 1339 (S.D. Fla. 2017) (emphasis added).

  D.E. 20 at 7-8, ¶ 12.
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         4.         Further, the decision reached in Will is not a faithful representation of Eleventh

  Circuit precedent, as Will hails from the Eighth Circuit. See, e.g., Holzman, 920 F.3d 1264, 1269

  (11th Cir. 2019) (“whether a representation made in a collection letter would be deceptive or

  misleading to the least-sophisticated consumer, or a collection practice would be unfair or

  unconscionable when applied to the least-sophisticated consumer, generally is a question of fact

  to be decided by a jury.” (citing LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th

  Cir. 2010). Simply put, the Will decision was the result of an unopposed motion to dismiss and

  does not accurately reflect the legal landscape with respect to the FDCPA in our circuit, let alone

  the actual arguments before this Court.

         5.         Just as with Defendant’s Motion to Dismiss, by and through the Notice of

  Supplemental Authority, Defendant seeks to “erroneously narrow[] Plaintiff’s allegations to the

  term ‘will not sue.’ D.E. 17 at 8. The allegations of the Complaint, and for that matter, the language

  of the Collection Letter go much further. Here, the pointed excerpt from the Collection Letter is as

  follows: “The law limits how long you can be sued on a debt. Because of the age of your debt,

  LVNV Funding LLC will not sue you for it, and LVNV Funding LLC will not report it to

  any credit reporting agency,” and “Radius Global Solutions is a collection agency. We do not

  sue people and we cannot and will not sue you on any account placed with our office.” D.E.

  1 at ¶ 25 (emphasis added).” D.E. 20 at 13.


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          DATED: October 8, 2019

                                                                 Respectfully Submitted,

                                                                  /s/ Jibrael S. Hindi                                   .
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                                                                 COUNSEL FOR PLAINTIFF


                                          CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on October 8, 2019, the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                                                 Respectfully Submitted,

                                                                  /s/ Thomas J. Patti                                    .
                                                                 THOMAS J. PATTI, ESQ.
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